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                     IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOHN W. BURNARD, et al,

           v.
MICHAEL J. STOCKER,

                                                  Civil Action No. 18-607 JFL


                                                ORDER


          AND NOW, TO WIT: This 11th day of JUNE, 2018, it having been reported that
the issues between the parties in the above action have been settled and upon Order of the Court
pursuant to the provisions of Rule 41.1 (b) of the Local Rules of Civil Procedure of this Court
(effective January 1, 1970), it is

       ORDERED that the above action is DISMISSED with prejudice, pursuant to agreement
of counsel without costs. The Court intends to retain jurisdiction for ninety (90) days from now,
and any settlement agreement is approved and made a part of the record and this Order for
enforcement purposes only.




                                                          RKMAN, Clerk

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                                                         arlene L. Koh t
                                                    Carlene L. Kohut,
                                                    Deputy Clerk
                                                   Judge Henry S. Perkin



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41.l(b)
